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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                         ~' ELECTRONICALLy FILED
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UNITED STATES OF AMERICA                                                DATE FILED: In   la o J~o


         -against                                                               ORDER
                                                                            19 CR 484 (KMW)
ORIS SANCHEZ OLIVO,

                                        Defendant.
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KIMBA M. WOOD, District Judge:

         The Court has received the defendant's Rule 35 Motion, dated October 15, 2020.

         The Government is ordered to respond by October 30, 2020.

         SO ORDERED.

Dated: New York, New York
       October 19, 2020


                                                           KIMBA M. WOOD
                                                      UNITED STATES DISTRICT JUDGE
